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                                         United States of America v. Roman Seleznev
                                                         CR11‐70RAJ

                                             EVIDENTIARY HEARING EXHIBIT LIST


                                                                              ADMITTED/     DATE
NO.                                DESCRIPTION                                 REFUSED    ADMITTED/    NOTES
                                                                                           REFUSED

1     Letter to Steven Fogg from Government Counsel dated 12‐16‐2014             A        03‐29‐2016
      Russian Translation of Letter to Steven Fogg from Government Counsel,
2                                                                                A        03‐29‐2016
      certified as translated on 12‐18‐2014
      Record of Visitors to Prisoners at the Federal Detention Center on
3                                                                                A        03‐29‐2016
      12‐12‐2014
      Record of Visitors to Prisoners at the Federal Detention Center on
4                                                                                A        03‐29‐2016
      12‐19‐2014
5     Declaration of Roman Seleznev dated 01‐18‐2016                             A        03‐29‐2016
